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                                                                                                       1-800-259-5300
                                                          Home       Online Services   News/Media     FAQs    Contact us




                                                                                                    Industry Access
      Consumers >            Industry >




                          Details for Great West Casualty Company
Name:
Great West Casualty Company
NAIC#:
11371
Domicile:
NE
Phone:
(402) 494-2411
Toll Free#:
N/A


                                                    Addresses

Type: Administrative
1100 West 29th Street
South Sioux City, NE 68776-3130


Type: Books and Records
1100 West 29th Street
South Sioux City, NE 68776-3130


Type: Domicile
1100 West 29th Street
South Sioux City, NE 68776-3130


Type: Mailing
P.O. Box 277
South Sioux City, NE 68776-0277


                                               Appointed Producers

                                                  Complaint Data

                                              Licensing Information

                                                Lines of Insurance

                                               Regulatory Actions

                                                Service of Process

                                          Summary Financial Information

                                               Return to Search Results

                                                  Return to Search
                                                                                                                 2
4/30/2019                                   Bmc Trucking USDOT
                         Case 3:19-cv-00262-SDD-RLB            2489118 - Milford,
                                                             Document       1-1 Iowa04/30/19
                                                                                     Trucking Company
                                                                                                 Page 5 of 8
                                         (https://www.quicktransportsolutions.com/index.php)



            Custom Search

    Home (/index.php) / USA Trucking Companies (https://www.quicktransportsolutions.com/carrier/usa-trucking-companies.php)
    / Iowa (https://www.quicktransportsolutions.com/carrier/iowa/trucking-companies.php) / Milford (https://www.quicktransportsolutions.com/carrier/iowa/milford.php)
    / Bmc Trucking




  BMC TRUCKING (Iowa Transport Company)

    Company Overview


     BMC TRUCKING is an active carrier operating under USDOT Number 2489118.


     Total Trucks                                                                                                                1

     Tractors Owned                                                                                                              0

     Trailer Owned                                                                                                               0

     Total Drivers                                                                                                               1

     USDOT (UNIQUE IDENTIFIER FOR TRANSPORT COMPANIES OPERATING COMMERCIAL VEHICLES HAULING CARGO IN                             2489118
     INTERSTATE COMMERCE REGISTERED WITH THE FMCSA)

     MCS-150 Mileage Year

     MCS-150 DATE (DATE FROM THE MCS-150 REGISTRATION FORM.)

     MCS-150 MILEAGE (MILEAGE FROM THE MCS-150 REGISTRATION FORM.)

     Does BMC TRUCKING transport Hazardous Material?                                                                             No

     Carrier Operation (Interstate - Truck driver transports across State lines, or wholly within one State as part of a         N/A
     through movement that originates or terminates in another State. Intrastate - Truck driver transports wholly within
     one State.)




    Company Contact Info


    BMC TRUCKING
    35 Airport Dr
    Milford, IA 51351
     (Bmc Trucking Phone) 712-540-0643 (tel:7125400643)




    Cargo Hauled by BMC TRUCKING


     General Freight


https://www.quicktransportsolutions.com/truckingcompany/iowa/bmc-trucking-usdot-2489118.php                                                                             1/5
4/30/2019                                   Bmc Trucking USDOT
                         Case 3:19-cv-00262-SDD-RLB            2489118 - Milford,
                                                             Document       1-1 Iowa04/30/19
                                                                                     Trucking Company
                                                                                                 Page 6 of 8
    Do you operate BMC TRUCKING business?


    QuickTSI will provide this website/profile as a marketing platform for BMC TRUCKING. Let potential shippers learn more about BMC TRUCKING. QuickTSI will publish
    BMC TRUCKING. business information here.

                                                                              Submit Information




    BMC TRUCKING Insurance History


     Insurance        Insurance                                               Coverage Amount             Coverage Amount       Effective Date
     Form             Type             Insurance Carrier        Policy/Surety From                        To                    From                  Effective Date To

     91X              BIPD/Primary     Great West Casualty      MCP09905A       $0                        $1,000,000            04/11/2014            04/23/2015
                                       Co.                                                                                                            Cancelled


    * If a carrier is in compliance, the amount of coverage will always be shown as the required Federal minimum ($5,000 per vehicle, $10,000 per occurrence for cargo
    insurance and $75,000 for bond/trust fund). The carrier may actually have higher levels of coverage.';




    Bmc Trucking. Insurance Companies Information


     Great West Casualty Co.
     1100 WEST 29TH ST., P.O. BOX 277
     SOUTH SIOUX CITY, NE
     Fax:(402)494 - 7400




    Bmc Trucking Location on Google Map



  View Larger Map (https://maps.google.com/maps?q=35 AIRPORT DR +,++MILFORD ,+IA +51351 &oe=UTF-8&ie=UTF8&split=0&gl=us&ei=PMGySfyZGpmktQOqj6B8&source=embed&hq=&hnear=35
  AIRPORT DR ,+MILFORD ,+IA +51351 &z=10&iwloc=A)




https://www.quicktransportsolutions.com/truckingcompany/iowa/bmc-trucking-usdot-2489118.php                                                                                 2/5
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        23^^ JUDICIAL DISTRICT COURT FOR THE PARISH OF ASCENSION

                                    STATE OF LOUISIANA

 NO.: 124931                                                          DIVISION: B

                                      TWINDA A.TASICER

                                             VERSUS

                   BRYAN LEE MCCABE,BMC TRUCiaNG,LLC,and
                           GREAT WEST CASUALTY COMPANY

 FILED:
                                                      DEPUTY CLERK

                       NOTICE OF FILING NOTICE OF REMOVAL

 TO:    Bridget Hanna, Clerk of Court
        23"^ Judicial District Court for the Parish of Ascension
        815 East Worthey Street
        Gonzales, LA 70737

        Plaintiff, Twinda A. Tasker
        Through their attomey of record,
        Lindsey J. Scott
        Lindsey Scott Law Firm
        632 St. Ferdinand Street
        Baton Rouge, LA 70806

        PLEASE TAKE NOTICE that Great West Casualty Company and Bryan Lee McCabe

 have tliis date filed the attached Notice of Removal with the Office of the Clerk for the United

 States District Court for the Middle District of Louisiana. A copy of the Notice of Removal is

 attached hereto as Exhibit "A."




                                                      Respectfully submitted,

                                                      LOEB LAW FIRM


                                              By:
                                                      J. SCOTT LOEB(#25771)
                                                      SEAN MCALLISTER (#35900)
                                                      1180 West Causeway Approach
                                                      Mandeville, LA 70471
                                                      Telephone:   (985)778-0220
                                                      Facsimile:   (985)246-5639
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                                                                    smcallistcr@loeb-law.com
                                                      Attorneysfor Great West Casualty Company
                                                      and Btyan Lee McCabe




                                                                                                    3
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